       Case 1:23-cv-01204-CJN            Document 39       Filed 09/26/24       Page 1 of 19




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                       )
 CENTER FOR BIOLOGICAL DIVERSITY, et                   )
 al.,                                                  )
                                                       )
                 Plaintiffs                            )
                                                       )
      v.                                               )
                                                       )    Civil Case No. 1:23-cv-1204-CJN
 FEDERAL AVIATION ADMINISTRATION,                      )
 et al.,                                               )
                                                       )
                 Defendants                            )
                                                       )
           and                                         )
                                                       )
 SPACE EXPLORATION TECHNOLOGIES                        )
 CORP.,                                                )
                                                       )
                 Defendant-Intervenor.                 )
                                                       )


       PLAINTIFFS’ OPPOSITION TO INTERVENOR-DEFENDANT’S MOTION
               TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
                   OR FOR A MORE DEFINITE STATEMENT

                                      I.    INTRODUCTION

       This case concerns the Federal Aviation Administration’s (FAA) failure to comply with

the requirements of the National Environmental Policy Act (NEPA) for the permitting of

Starship/Super launches at the SpaceX facility at Boca Chica, Texas. Plaintiffs initially brought a

claim under NEPA regarding the FAA’s decision not to conduct a full Environmental Impact

Statement (EIS) when approving 10 Starship/Superheavy launches per year over 5 years. Given

the clearly significant impacts associated with launching the largest rockets known to humankind

directly adjacent to protected wildlife refuge lands that provide critical habitat for protected

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       Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24       Page 2 of 19




species, SpaceX’s history of rocket explosions at Boca Chica (called anomalies), as well as the

harm from the intense noise, heat, and light associated with launches, and the impacts of frequent

closures of the area that adversely affect the local community, an EIS was clearly required.

       Plaintiffs have now amended their Complaint to include additional violations of NEPA

stemming from the FAA’s failure to provide supplemental NEPA analyses to address the

disastrous first launch of the Starship/Superheavy rocket, as well as new information pertaining

to harm to protected wildlife from the fourth launch in June of 2024. The first launch of the

Starship/Superheavy rocket took place on April 20, 2023, and resulted in the explosion of the

launch pad, which spewed chunks of concrete and metal, as well as ash and sand, over a large

area, including adjacent tidal flats that provide habitat for protected species such as piping

plovers and other migratory birds. First Amended Complaint (FAC) ¶ 65. And on June 6, 2024, a

report was issued by the Coastal Bend Bays & Estuaries Program documenting extensive

damage to active migratory bird nests at Boca Chica State Park as a result of debris caused by the

fourth launch of the rocket. Id. ¶ 107. As set forth in Plaintiffs’ FAC, Plaintiffs claim that these

events constitute new information or circumstances resulting in significant environmental

impacts that were never evaluated by the FAA, requiring the agency to provide supplemental

NEPA review. See id. ¶¶ 51, 121-23; 40 C.F.R. § 1502.9(d), FAA Order 1050.1F, 9-3.

       Defendant-Intervenor SpaceX has moved to dismiss Plaintiffs’ claims regarding the need

for supplemental NEPA review (but has not sought dismissal of Plaintiffs’ claim that an EIS was

required when the FAA initially approved the Starship/Superheavy launch program). However,

the FAA—against which the NEPA claims are asserted—did not bring any such challenge, and

instead provided an Answer to the FAC, indicating that the government recognizes that Plaintiffs

have formulated claims that can be resolved on summary judgment.



                                                  2
       Case 1:23-cv-01204-CJN           Document 39       Filed 09/26/24      Page 3 of 19




       For its part, SpaceX’s motion is merely a tactic designed to delay and distract. For

example, Space X begins its motion with a pointless assertion that Plaintiffs somehow “waited to

sue” until many years after the Boca Chica site was built and almost a year after the FAA

approved the Starship/Superheavy launch program. Mot. at 1. While SpaceX does not assert an

actual defense of laches in its Rule 12(b)(6) motion – and therefore the Court should disregard

any such argument in any event – this false narrative paints a totally misleading picture of the

events that have led to this point. To clarify: in 2014, the FAA did produce an EIS to support its

decision regarding SpaceX’s application for licenses and/or experimental permits to conduct

launches of the Falcon 9 and Falcon Heavy orbital launch vehicles and a variety of reusable

suborbital launch vehicles at Boca Chica. FAC ¶ 76. This evidences the FAA’s understanding

that a full EIS is warranted for these types of large rocket programs, given the significant impacts

they have on the surrounding environment. It was therefore unnecessary for Plaintiffs to bring

the NEPA claims at issue in this litigation for the prior launch program, since an EIS was indeed

produced. Thus, SpaceX’s assertion that Plaintiffs “waited” to bring a NEPA claim that did not

previously exist is a legal and logical non sequitur.

       However, as SpaceX well knows, things have changed dramatically since the FAA

produced the 2014 EIS. SpaceX ultimately chose other locations for Falcon 9 launches. Instead,

the FAA began preparing Written Reevaluations to determine whether SpaceX’s extensive

modifications to the launch site and operations, including a Starship experimental test program,

even fell within the scope of that EIS. PEA at 2.1 And since the 2014 EIS was produced, multiple

“anomalies” have caused extensive harm to surrounding habitat from ground tests and suborbital


1
 “PEA” refers to the FAA’s 2022 Programmatic Environmental Assessment (available at
https://www.faa.gov/sites/faa.gov/files/202206/PEA_for_SpaceX_Starship_Super_Heavy_at_Bo
ca_Chica_FINAL.pdf and FAA00011354-536.

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       Case 1:23-cv-01204-CJN          Document 39        Filed 09/26/24      Page 4 of 19




launches at Boca Chica. See FAC ¶¶ 64-69. Furthermore, SpaceX has failed to comply with

many of the protective measures contained in the 2014 EIS, raising significant new concerns for

the larger rockets of the new Starship/Superheavy launch program. FAC ¶ 64. Plaintiffs therefore

claim that a new EIS is necessary, and Plaintiffs brought their timely challenge shortly after the

FAA determined (erroneously) that the Starship/Superheavy rockets would not cause significant

environmental impacts, issued a new decision not to produce a full EIS on that basis—in the

form of a new Programmatic EA/Finding of No Significant Impact (FONSI)—and authorized a

launch of the Starship/Superheavy rocket. Hence, SpaceX’s assertion that Plaintiffs somehow

“waited” to bring the NEPA claims now before the Court is specious.

       Regardless, SpaceX has now challenged Plaintiffs’ claims as they relate to supplemental

NEPA review. SpaceX has put forth several arguments in its motion, none of which provide any

basis for dismissing Plaintiffs’ supplemental NEPA claims. SpaceX’s arguments regarding the

FAA’s need to supplement the PEA are mistaken, given that the FAA has continued to rely on

that document for NEPA compliance when issuing new launch licenses through Written

Reevaluations that specifically address the need for supplementation of the PEA. And Plaintiffs

properly plead a legal violation of NEPA as it pertains to the FAA’s NEPA review for the second

launch license. SpaceX’s arguments regarding the Migratory Bird Treaty Act (MBTA) are

entirely inapposite. While the MBTA does indeed apply to SpaceX’s activities, that is irrelevant

given that the specific claim at issue is not for a violation of the MBTA, but rather a NEPA claim

based on the need to provide additional analysis following new information on harm to migratory

bird species protected under the MBTA, which was not previously considered by the agency.

       SpaceX’s feeble attempt to cause further delay in this matter, and its effort to prevent the

Court from considering the clear harms from its activities that go above and beyond what it



                                                 4
       Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24      Page 5 of 19




initially divulged to the FAA and was considered in the PEA, should be denied so that this case

can proceed to summary judgment disposition.

                                        II.    ARGUMENT

A. Standard of Review.

       When reviewing a motion to dismiss pursuant to Rule 12(b), courts must accept as true

all factual allegations in the complaint and construe the complaint liberally, granting plaintiff the

benefit of all inferences that can be drawn from the facts alleged. See Settles v. U.S. Parole

Comm’n, 429 F.3d 1098, 1106 (D.C. Cir. 2005) (At the motion to dismiss stage, complaints “are

to be construed with sufficient liberality to afford all possible inferences favorable to the pleader

on allegations of fact”); Nurriddin v. Bolden, 818 F.3d 751, 756 (D.C. Cir. 2016) (In considering

a motion to dismiss, the court must construe all reasonable inferences in favor of the plaintiff).


B. There is no basis for dismissing Plaintiffs’ NEPA supplementation claims.

            1. Plaintiffs properly plead their NEPA claim.

       Plaintiffs’ FAC presents one claim regarding Defendants’ violations of NEPA, which sets

forth three aspects of the Defendants’ failure to comply with the law: 1) the failure to produce an

EIS when the FAA approved the Starship/Superheavy launch program even though the activities

at issue clearly would have significant environmental impacts; 2) the FAA’s decision not to

conduct a new or supplemental NEPA analysis before issuing a second launch license following

the failed April 20, 2023, launch, which caused significant environmental harm; and 3) the

FAA’s failure to undertake a supplemental NEPA review regarding new information pertaining




                                                  5
       Case 1:23-cv-01204-CJN          Document 39        Filed 09/26/24      Page 6 of 19




to harm to the nests and eggs of birds protected by the MBTA from debris from the June 2023

launch, which had not been previously considered by the agency.2

       These are straightforward and readily comprehensible allegations, which certainly meet

the notice pleading requirements. See Arent v. Shalala, 70 F.3d 610, 618 (D.C. Cir. 1995)

(explaining that under the notice pleading regime of the Federal Rules of Civil Procedure, a

defendant must simply be afforded “‘fair notice’ of the plaintiff's claim”) (citing Conley v.

Gibson, 355 U.S. 41, 47 (1957)); see also FED. R. CIV. P. 8(a)(2) (Pleadings must contain “a

short and plain statement of the claim”). The several ways in which the FAA has violated NEPA

were combined into one count simply because they all involve violations of the same statute and

reflect an ongoing failure to come into compliance. In any event, the company provides no actual

reason how or why it was “prejudiced” by Plaintiffs’ form of pleading. Mot. at 9.3

       Contrary to SpaceX’s suggestion, pleading the various aspects of the FAA’s NEPA

violations in the same claim is entirely consistent with the Federal Rules. Fed. R. Civ. P. 10(b)

states that each claim founded on a separate transaction or occurrence should be in a separate

count “if doing so would promote clarity.” Here, there is nothing unclear about Plaintiffs’ NEPA


2
  While SpaceX suggests that Plaintiffs have improperly combined pleadings under NEPA and
the Administrative Procedures Act (APA) in their claim for relief, Mot. at 8-9, this ignores that
because NEPA itself does not provide for a cause of action, NEPA claims are properly brought
under the APA. See Western Organization of Resource Councils v. Zinke, 892 F.3d 1234, 1241
(D.C. Cir. 2018). Thus, for Plaintiffs’ claim regarding the FAA’s initial refusal to produce an EIS
for the launch program—as embodied in the PEA/FONSI—as well as the decision in the written
reevaluation for the issuance of the second launch license finding that no NEPA supplementation
was required, Plaintiffs properly plead those as arbitrary and capricious agency action in
violation of 5 U.S.C. § 706(2). See FAC ¶¶ 116, 120-22. For the FAA’s failure to provide a
supplemental NEPA analysis following the new information in the June 6 report regarding harm
to protected bird eggs from debris, Plaintiffs properly plead that as a violation of 5 U.S.C. §
706(1) for agency action unlawfully withheld or unreasonably delayed. Id. ¶ 123.
3
 The lack of prejudice is readily apparent from SpaceX’s own Motion, which states that a single
count with multiple claims may be treated as separate claims for purposes of a 12(b) motion.
Mot. at 10.

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       Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24       Page 7 of 19




claim as reflected by the fact that the government had no difficulty providing an Answer to the

FAC. Indeed, it is readily apparent that SpaceX itself does not actually require any further

clarity, given it set forth in its motion the three aspects of Plaintiffs’ NEPA claim with sufficient

specificity to show it understands the nature of the claims at issue. See Mot. at 23.

       Plaintiffs therefore properly provided a short and plain statement of the claim, which

gave fair notice as to the NEPA/APA violations Plaintiffs are alleging. See Swierkiewicz v.

Sorema, 534 U.S. 506, 512 (2002) (“Such a statement must simply give the defendant fair notice

of what the plaintiff's claim is and the grounds upon which it rests.” (internal quotation marks

omitted)). As discussed below, these are viable NEPA-based claims that should be resolved on

summary judgment following production of the full administrative record.4

            2. The FAA continues to rely on the PEA, which must be supplemented where
               new information shows impacts from launches not previously considered.

       SpaceX argues that the PEA only pertains to the approval of the Starship/Superheavy

launch program, which it believes is a distinct agency action that ended once the launch program

was approved, and therefore there is no further agency action associated with the PEA that would

require supplementation of that document. Mot. at 10-11. Aside from the fact that this is a merits

argument best resolved on summary judgment, it is contrary to the record. In fact, the FAA

continued to not only rely on the PEA when issuing further launch licenses, but provided Written

Reevaluations specifically intended to determine whether supplementation of the PEA was

warranted. SpaceX’s categorization of the PEA as a final document that cannot now be

supplemented is therefore erroneous.



4
  The government has previously produced an administrative record regarding the PEA/FONSI.
It is Plaintiffs’ understanding that the FAA is in the process of compiling a record concerning the
agency’s decision not to supplement the PEA following the April 2023 launch.

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       Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24      Page 8 of 19




       SpaceX’s reliance on Western Organization of Resource Councils v. Zinke, 892 F.3d

1234 (D.C. Cir. 2018), and Norton v. Southern Utah Wilderness Alliance, 542 U.S. 55 (2004), is

misplaced as the reasoning in those cases actually supports the viability of Plaintiffs’

supplemental NEPA claim here. In Zinke, the Department of the Interior had produced a

Programmatic EIS for the Federal Coal Management Program, which was a “planning system to

decide which areas would be listed for coal production.” Zinke, 892 F.3d at 1238. Similarly, in

SUWA the Court was considering NEPA review for a broad land use management plan for BLM

lands in Utah. SUWA, 542 U.S. at 59. In both cases, the broad management plans did not cover

site-specific actions to be taken pursuant to the plan, and so did not analyze specific projects or

activities—which would be analyzed in separate, subsequent NEPA documents. See e.g., SUWA,

542 U.S. at 70 (noting the preliminary nature of such plans and that “land use plans are normally

not used to make site-specific implementation decisions”). Rather, they set forth an approach for

managing resources, the approval of which was deemed a final action that the courts found

precluded the need for supplemental NEPA review, since the approval of the plans themselves

had already occurred, and any subsequent actions with on-the-ground effects would be subject to

review in separate NEPA documents (either an EA or EIS). See Zinke, 892 F.3d at 1240; SUWA,

542 U.S. at 73.

       Here, however, the FAA’s Starship/Superheavy PEA does not provide a general plan for

managing resources. Rather, the PEA analyzes the potential harm from the specific activities that

FAA is licensing – the launching of 50 Starship/Superheavy rockets over 5 years. In other words,

the PEA for the Starship/Superheavy launch program did not provide an “overarching scheme”

for an approach to “managing resources in the future,” as was the case in Zinke and SUWA. See

Zinke, 892 F.3d at 1243. Rather, the major federal action at issue is the approval of launching 10



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       Case 1:23-cv-01204-CJN          Document 39        Filed 09/26/24      Page 9 of 19




Starship/Superheavy rockets per year for five years, and therefore the federal action remains

incomplete, since further launches will take place, akin to the situation in Marsh v. Oregon

Natural Resources Council, 490 U.S. 360, 109 (1989), where the Court found that

supplementation was warranted since the action (building a dam) was not complete. See Zinke,

892 F.3d at 1243.5

       As the Court in Zinke noted, “the supplementation inquiry turns on how the ‘propos[ed] .

. . Federal action’ is defined. 892 F.3d at 1243 (citing 42 U.S.C. § 4332(2)(C)). SpaceX attempts

to define the action under the PEA as merely a decision on the approval of the launch program,

which was complete when the PEA and Record of Decision (ROD) was issued. Mot. at 10. But

the major federal action at issue was not the approval of a general plan regarding how rocket

launches would be managed, but rather the approval of a specific plan to launch specific rockets.

This is clear from the ROD itself, which states that the proposed action at issue is FAA’s

decision “to issue an experimental permit(s) and/or a vehicle operator license to SpaceX that

would allow SpaceX to take its Proposed Action, the launching of Starship/Super Heavy from

the Boca Chica Launch Site.”6 Thus, while in Zinke there was no “specific pending action, apart

from the Program’s continued existence, that qualifies as a ‘major Federal action’ under NEPA,”




5
  The same analysis applies to the other cases SpaceX relies on, such as Center for Biological
Diversity v. Salazar, 706 F.3d 1085 (9th Cir. 2013) and Greater Yellowstone Coalition v.
Tidwell, 572 F.3d 1115 (10th Cir. 2009), Mot. at 12-13, which likewise concerned broad
management plans, the approval of which were found to be final action that did not allow for
supplementation of the initial programmatic NEPA review. Here, however, the PEA does not
concern a broad management plan, but rather specific actions, for which there is remaining
federal action (i.e., the issuance of individual launch licenses for the launches contemplated in
the PEA). These cases are therefore inapposite.
6
 Available at
https://www.faa.gov/sites/faa.gov/files/202206/20220613%20SpaceX%20Starship%20Super%2
0Heavy%20at%20Boca%20Chica_FONSI_ROD%20Final.pdf and FAA00010295-334.

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        Case 1:23-cv-01204-CJN         Document 39        Filed 09/26/24      Page 10 of 19




892 F.3d at 1243, here the ROD specifically contemplates further action under the PEA – the

issuance of licenses for rocket launches in reliance on that NEPA analysis.

         Furthermore, the decision in Zinke turned on the fact that the agency, in administering the

program at issue, prepared project-specific EISs or environmental assessments for each activity

before they were approved. See Zinke, 892 F.3d at 1240. The FAA, however, has not prepared a

license-specific NEPA analysis for each launch, but rather has issued Written Reevaluations,

which do not provide a valid NEPA review in their own right but are only intended to determine

whether supplemental NEPA review is required. See Paragraph 9-2.c of FAA Order 1050.1F (“A

written re-evaluation is a document used to determine whether the contents of a previously

prepared environmental document (i.e., a draft or final EA or EIS) remain valid or a new or

supplemental environmental document is required.”).7

         Indeed, while the Council on Environmental Quality’s (CEQ) current NEPA regulations

allow for the use of Written Reevaluations, it only does so for the purposes of determining

whether a supplemental NEPA analysis is required.8 Thus, if SpaceX is correct and the PEA was

only for the programmatic review of the launch program and does not pertain to the individual

launch licenses, the only way the FAA could have complied with NEPA when issuing the

licenses was to undertake a new EA or EIS, which it did not do for the second launch license

following the explosion of the launch pad during the first launch. In fact, if the Court were to

accept SpaceX’s position that the PEA only pertained to the approval of the launch program

itself and therefore cannot now be supplemented because each launch license undergoes a

separate NEPA analysis, the FAA would be put in a totally untenable legal position because



7
    Available at https://www.faa.gov/documentLibrary/media/Order/FAA_Order_1050_1F.pdf.
8
    See 89 Fed. Reg. 35442, 35558, 35477, 35500 (May 1, 2024).

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      Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24      Page 11 of 19




FAA did not prepare any new NEPA document (contrary to the situations in the cases relied on

by SpaceX) and instead relied on the PEA itself and Written Reevaluations to conclude that the

PEA/FONSI remained valid and continued to adequately cover the impacts from the launches in

the absence of supplementation. FAC ¶¶ 95, 101.9 Plaintiffs are challenging that conclusion in

the November 14, 2023, Reevaluation as arbitrary and capricious—which must be resolved at

summary judgment following production of a record—but the critical fact for purposes of

SpaceX’s motion is that the FAA is continuing to rely on the programmatic PEA for NEPA

coverage in connection with the launches.10

       SpaceX’s contention that the PEA cannot now be supplemented because it only pertained

to the initial approval of the launch program and is not being used as the basis for NEPA

compliance for the individual launch licenses is in fact directly contradicted by the plain

language of the Written Reevaluation that the FAA issued for the second launch (to which

SpaceX provides a link, see Mot. at 6, fn. 6). That Written Reevaluation specifically states that it

is not intended to be a distinct NEPA analysis, but rather is intended “to determine whether the

contents of a previously prepared environmental document remain substantially valid or whether


9
 See also the November 15, 2023, Written Reevaluation at 1 (Available at
https://www.faa.gov/media/72816).
10
   CEQ’s guidance document on programmatic NEPA reviews makes clear that the duty to
supplement a NEPA document, regardless of whether it is characterized as programmatic, can be
triggered by significant new information of relevance to the proposed action or its impacts. See
CEQ Memorandum for Heads of Federal Departments and Agencies, “Effective Use of
Programmatic NEPA Reviews,” at 43-44 (Dec. 18, 2024) (Available at:
https://ceq.doe.gov/docs/ceq-regulations-and-
guidance/Effective_Use_of_Programmatic_NEPA_Reviews_Final_Dec2014_searchable.pdf)
(“If the new information is relevant to a future decision for which the agency intends to rely
upon the original programmatic NEPA review to meet all or a portion of its NEPA compliance
responsibilities, then the new information may be reviewed in order to determine if it has any
potential effect on the content of the original programmatic review, either in terms of: (a) the
accuracy of the previously analyzed impacts (direct, indirect or cumulative); or (b) the feasibility
of the alternatives presented or their comparative analysis.”).

                                                 11
      Case 1:23-cv-01204-CJN          Document 39        Filed 09/26/24     Page 12 of 19




significant changes to a previously analyzed proposed action require the preparation of a

supplemental Environmental Assessment or Environmental Impact Statement (EIS).”11 Indeed,

the entire point of the Written Reevaluation is to determine “whether the contents, analyses, and

conditions of approval in the PEA remain current and substantially valid.” Id. (emphasis added).

And the Reevaluation makes clear that it is providing documentation for the factors used to

determine whether the preparation of supplemental EA or EIS is necessary pursuant to Paragraph

9-2.c of FAA Order 1050.1F. Id. Thus, it is readily apparent that the FAA continued to rely

directly on the PEA when issuing the launch licenses and is not somehow precluded from

supplementing that document as SpaceX now contends. Mot. at 10. Rather, the FAA’s entire

NEPA analysis when issuing the second launch license pertained to the potential need for

supplementation of the PEA.12

       Moreover, even if SpaceX were correct in its understanding of Zinke and SUWA such that

Plaintiffs may only challenge the license-specific decision for the second launch rather than the

need to supplement the PEA, Plaintiffs FAC clearly complies by expressly challenging the

November 14, 2023, Written Reevaluation itself as arbitrary, capricious, an abuse of discretion,

and otherwise not in accordance with law, in contravention of the APA, 5 U.S.C. § 706(2). See

FAC ¶ 122 (“FAA’s finding in its November 14, 2023 ‘written reevaluation’ that no

supplemental NEPA analysis is required in connection with the April 20, 2023 launch failed to




11
   See the November 15, 2023, Written Reevaluation at 1-2 (Available at
https://www.faa.gov/media/72816).
12
  Contrary to SpaceX’s argument that the review of FAA’s NEPA compliance for individual
launch licenses would require its “own administrative record,” Mot. at 9, 12, Plaintiffs’
supplemental NEPA claims would only require a supplement to the existing administrative
record, documenting the FAA’s decision not to provide a supplemental NEPA analysis as set
forth in the Written Reevaluation.

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      Case 1:23-cv-01204-CJN               Document 39    Filed 09/26/24      Page 13 of 19




take the requisite hard look at multiple aspects of the launch and its aftermath . . .”).13 SpaceX

suggests no reason (and there is none) as to why, even given SpaceX’s own mistaken

understanding of FAA’s ongoing reliance on the PEA, Plaintiffs cannot challenge the conclusion

in the Reevaluation that the destruction of the launch pad and adoption of a new wastewater

discharge system did not necessitate any additional NEPA review. In any event, Plaintiffs’

ability to do so is fully consistent with Zinke and SUWA.

        The same is true for Plaintiffs’ contention that the June 6 report documenting harm to

MBTA-protected bird eggs/nests requires supplemental NEPA review. FAC ¶ 123. Again,

SpaceX’s contention that the PEA is a final document that cannot now be supplemented because

there is no further agency action to be taken pursuant to that document is directly contradicted by

the plain language of the written reevaluations, which specifically state that supplementation of

the PEA is warranted when there is “significant new circumstances or information relevant to

environmental concerns and bearing on the proposed action or its impacts,” consistent with

Paragraph 9-2.c of FAA Order 1050.1F. Clearly, then, Plaintiffs may pursue a claim that

supplementation of the PEA is warranted where, as here, such new information has come to

light, and further agency action is forthcoming (i.e., licenses for additional launches). See FAC ¶

123; Kareem v. Haspel, 986 F.3d 859, 865 (D.C.C. 2021) (at the motion to dismiss stage, the

court must accept Plaintiffs’ factual allegations as true and draw all reasonable inferences from

those allegations in Plaintiff's favor).

        SpaceX’s argument that Plaintiffs cannot seek to compel supplementation of the PEA

appears to be a thinly veiled attempt to paint Plaintiffs into a corner, making it impossible to


13
  The claim focusses on the agency’s failure to provide a supplemental NEPA review is
consistent with the fact that the Written Reevaluation itself states that the purpose of the
document is to determine whether supplementation of the PEA was required, as discussed above.

                                                  13
      Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24      Page 14 of 19




challenge the FAA’s failure to comply with NEPA. Since the launch-specific reviews for the

issuance of individual launch licenses (i.e., Written Reevaluations considering the need to

supplement the PEA) have routinely been provided by the FAA mere days before each issuance

of a license and the subsequent launch,14 SpaceX is evidently attempting to put Plaintiffs into a

bind in which it can argue that any challenge to the FAA’s failure to comply with NEPA is either

too early or too late: too early if it is brought before FAA has approved a specific launch but too

late after the launch has occurred.

       That transparent gamesmanship aside, SpaceX provides no valid basis for dismissing

Plaintiffs’ NEPA supplementation claims. SpaceX clearly wants to avoid having the Court

consider the ongoing harm from Starship/Superheavy rocket launches, because it shows that

either the FAA and SpaceX knew of the potential for such harm and an EIS was therefore

required at the outset, or a supplemental EIS is now needed to address significant environmental

impacts as new information on the harm from its activities comes to light. The misguided and

erroneous arguments set forth in its motion are nothing more than a clear attempt to cause undue

delay in this litigation and prejudice Plaintiffs. The motion should therefore be denied, and this

matter should move forward expeditiously to summary judgment briefing.

C. Plaintiffs have not brought a claim under the MBTA, but rather a valid NEPA claim
   regarding new information on harm to protected migratory bird species that has not
   been previously addressed.

       The plain language of the FAC shows that Plaintiffs have not brought a separate claim

under the MBTA, but rather a valid NEPA-based APA claim under 5 U.S.C. § 706(1) for the



14
  For example, the Written Reevaluation for the first launch was made available on April 14,
2023, the same date as the issuance of the license. The Written Reevaluation for the second
launch was signed on Friday, Nov. 15, 2023, and the license was issued on Monday, Nov. 18,
2023.

                                                 14
      Case 1:23-cv-01204-CJN            Document 39        Filed 09/26/24       Page 15 of 19




FAA’s failure to undertake a supplemental NEPA analysis to address the harm evidenced in the

June 6 report. See FAC ¶ 123. Plaintiffs have merely pointed to the June 6 report as evidence of

harm to federally protected wildlife that was not previously considered by the FAA in its review

of the Starship/Superheavy launch program and that must be considered in the agency’s NEPA

analysis prior to any new launches. This is apparent from the claim itself, see FAC ¶ 123

(alleging that “FAA’s failure [to supplement its NEPA analysis to address destruction of

migratory bird nests] violates NEPA and constitutes agency action that has been unlawfully

withheld and unreasonably delayed, in violation of 5 U.S.C. § 706(1)), as well as the request for

relief, which seeks declaratory and other relief based exclusively on NEPA violations. Id. at pp.

39-40.

         Accordingly, it is readily apparent that Plaintiffs have alleged that the June 6 report

shows “new information [] sufficient to show that the remaining action will ‘affect the quality of

the human environment’ . . . to a significant extent not already considered,” and therefore NEPA

supplementation is warranted. Marsh, 490 U.S. at 374; FAC ¶ 123 (stating that the June 6 report

demonstrates “new circumstances or information about the significance of the adverse effects

that bear on the analysis in the PEA,” and that such harms were “not anticipated and/or not

addressed in the PEA”). Indeed, the PEA never discusses the potential for bird eggs (protected

by the MBTA, the ESA, or otherwise) to be harmed by debris from a rocket launch event,

particularly from a non-anomaly event like the Fourth launch that resulted in the harm shown in

the June 6 report. Even for an anomaly event, the PEA asserts that a “direct wildlife strike [from

debris] would be very unlikely.” FAA00011497. Thus, the PEA never addressed the potential for

harm to nests and eggs from a debris strike, and how such debris strikes may affect wildlife,

including birds protected under the ESA and MBTA.



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      Case 1:23-cv-01204-CJN          Document 39       Filed 09/26/24      Page 16 of 19




       Because the June 6, 2024, report issued by the Coastal Bend Bays & Estuaries Program—

immediately following the fourth test launch of the SpaceX rocket—documents extensive

damage to active migratory bird nests at Boca Chica,15 which was never considered or analyzed

in the PEA, Plaintiffs have asserted a viable claim that a supplemental NEPA review is required

consistent with Paragraph 9-2.c of FAA Order 1050.1F. Plaintiffs have therefore brought a valid,

NEPA-based APA claim for agency action unlawfully withheld and unreasonably delayed, in

violation of 5 U.S.C. § 706(1).

       The Court should therefore disregard SpaceX’s attempts to reframe Plaintiffs’ NEPA

claim as a separate MBTA claim. Simply put, irrespective of whether SpaceX (or the FAA)

could be held liable for violating the MBTA, Plaintiffs’ claim as pled turns on whether the

destruction of protected migratory bird nests from launch debris supports the need for FAA to

engage in supplemental NEPA review. Since this seems clear enough from the FAC, what

SpaceX is evidently seeking to obtain here is a preemptive advisory opinion from the Court on

whether the company can be held liable under the MBTA, which broadly prohibits (in relevant

part) the “killing” of migratory birds without authorization from the Fish and Wildlife Service

(FWS). See 16 U.S.C. § 703.16

       The Court should not oblige. Aside from the fact that SpaceX’s potential for liability is

legally distinct from whether Plaintiffs can pursue a NEPA claim against FAA, SpaceX has


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  See Shorebird nest fates at Boca Chica after rocket test launch (Available at CBBEP_Boca-
Chica-shorebird-nests-losses-June-6-2024.pdf) (noting that “[a]ll 9 shorebird nests monitored
following the rocket launch on June 6 were either missing eggs, had damaged eggs, or both.”).
16
   SpaceX’s desire for such an opinion may be explainable by the fact that FWS has stated that it
is currently investigating SpaceX for violations of the MBTA. See New Flight Plan,
Environmental Concern Could Slow SpaceX Flight (July 11, 2024) (Stating that the U.S. Fish
and Wildlife Service’s office of law enforcement “is investigating the nest damage”) (available
at https://www.govtech.com/products/new-flight-plan-environmental-concern-could-slow-
spacex-flight).

                                                16
      Case 1:23-cv-01204-CJN           Document 39         Filed 09/26/24      Page 17 of 19




presented a badly skewed view of MBTA liability that conflicts with the relevant caselaw and

recent agency rulemaking establishing that foreseeable harm inflicted on migratory birds (and

active nests) by industrial activity may be covered by the MBTA’s prohibitions, even when that

is not the specific purpose of the activity. Tellingly, for example, SpaceX does not even mention

a recent ruling that exhaustively analyzed the statute’s language, history, and precedents in

rejecting the same interpretation that SpaceX proffers here, i.e., that companies such as SpaceX

may kill protected migratory birds with impunity when that is an incidental, albeit entirely

foreseeable, result of their activities. See Natural Res. Def. Council v. U.S. Dep’t of the Interior,

478 F. Supp. 3d 469 (S.D.N.Y. 2020).

       Likewise, buried in a footnote in SpaceX’s motion is the admission that the FWS issued a

rule in 2021 that directly undermines SpaceX’s assertions regarding the applicability of the

MBTA. In the Service’s 2021 rule implementing the MBTA, FWS found that the MBTA is

applicable to foreseeable incidental take, based on the plain language of the statute, embracing

the court’s analysis set forth in the NRDC case. See 86 Fed. Reg. 54642, 54644 (Oct. 4, 2021).

Thus, SpaceX’s assertions squarely conflict with the expert agency’s own determination and

analysis of the MBTA’s plain language and applicable case law.

       Instead of demonstrating that FWS got it wrong (which, again, is not properly before the

Court at this juncture in any event), SpaceX relies heavily on a case that preceded FWS’s recent

authoritative construction—United States v. CITGO Petroleum Corp., 801 F.3d 477 (5th Cir.

2015)—and that did not even “present an opportunity to interpret ‘kill’” within the statutory

prohibitions. United States v. CITGO Petroleum Corp., 801 F.3d 477, 489 n.10; see also 86 Fed.

Reg. 54643 (explanation by FWS in its 2021 rulemaking that “CITGO does not provide legal

precedent for construing ‘kill’ narrowly” under the MBTA” because that decision “is limited by



                                                  17
      Case 1:23-cv-01204-CJN           Document 39        Filed 09/26/24    Page 18 of 19




its terms to addressing the meaning of the term ‘take’ under the MBTA”). As FWS has now

made clear, the MBTA does indeed require FWS authorization for the foreseeable killing of

migratory birds (or their eggs), even when such killing was incidental to otherwise lawful

activities, consistent with the court’s decision in NRDC. Id.17

       In sum, the Court should rebuff SpaceX’s request for an advisory opinion on whether

SpaceX may be held liable under the MBTA for killing migratory birds, both because the

viability of Plaintiffs’ claim for supplemental NEPA review does not turn on that issue and, in

any event, SpaceX has ignored or misstated the relevant case law and agency pronouncements.

D. There is no need for a more definite statement.

       SpaceX’s own motion makes it clear why a more definite statement is not needed for this

litigation to move forward to summary judgment briefing. After lamenting that SpaceX is

somehow incapable of understanding the precise nature of the claims at issue, Mot. at 23, it then

goes on to provide a concise summary of the three aspects of Plaintiffs’ NEPA claim that is

perfectly understandable and consistent with the FAC. As SpaceX notes, at issue are three NEPA

violations concerning (1) the adequacy of “FAA’s environmental review supporting its original

decision to approve the Starship-Super Heavy Program”; (2) the “FAA’s decision not to conduct

new or supplemental environmental review after SpaceX’s April 2023 launch before deciding to

license a subsequent proposed launch”; and (3) the FAA’s failure “to prepare a new or


17
   SpaceX baselessly suggests that the Fifth Circuit’s interpretation of the MBTA is somehow
binding on this Court because the SpaceX launches are taking place in Texas. See Mot. at 16
n.15. To point out the obvious, this case is being litigated in the D.C. Circuit. Thus, even if
CITGO set forth an authoritative construction of “kill” in the MBTA—which it did not—it
would have no binding effect on this case. Although the D.C. Circuit has yet to definitively rule
on the issue, it has recognized that FWS’s “‘longstanding position’ has been that the [MBTA]
also applies to harm that ‘occurs incidental to, and which is not the purpose of, an otherwise
lawful activity. . . .’” Public Emps. For Env’t. Resp. v. Hopper, 827 F.3d 1077, 1088 (D.C. Cir.
2015) (quoting 80 Fed. Reg. 30,032, 30,034 (May 26, 2015)) (internal citation omitted).

                                                 18
      Case 1:23-cv-01204-CJN          Document 39        Filed 09/26/24         Page 19 of 19




supplemental environmental review after SpaceX’s June 2024 launch” resulted in the destruction

of migratory bird nests. Id. These indeed are the facets of Plaintiffs’ NEPA claim that are at

issue, and which should be resolved on summary judgment. As the FAA (against which the

claims are asserted) has recognized by providing an Answer to the FAC, nothing would be

gained by putting Plaintiffs through the make-work exercise of providing a more “definitive”

statement—especially in view of this response brief providing any clarification that might

conceivably have been called for.

                                     III.    CONCLUSION
       For the foregoing reasons, Intervenor-Defendants’ Motion should be denied so that the

matter can move forward to summary judgement briefing as expeditiously as possible.


September 26, 2024                                   Respectfully submitted,

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                                                19
